          Case 4:21-cr-06042-MKD                  ECF No. 1139              filed 05/22/24          PageID.5834 Page 1 of 9
 AO 245B (Rev. 09/19) Judgment in a Criminal Case
                      Sheet 1
                                                                                                                             FILED IN THE
                                                                                                                         U.S. DISTRICT COURT

                                        UNITED STATES DISTRICT COURT                                               EASTERN DISTRICT OF WASHINGTON



                                                     Eastern District of Washington                                 May 22, 2024
                                                                                                                         SEAN F. MCAVOY, CLERK
             UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE
                        v.
                  HUSSEIN A YASIR                                          Case Number:          4:21-CR-06042-MKD-2
                                                                           USM Number:           77988-509
                                                                                                     Mike William Lynch
                                                                                                      Defendant's Attorney




THE DEFENDANT:
 ☒ pleaded guilty to count(s)       3, 4, 6, 7, 9, 17, 20, 38, 51, 53, 126, 127 of the Indictment
       pleaded nolo contendere to count(s)
 ☐     which was accepted by the court.
       was found guilty on count(s) after a
 ☐     plea of not guilty.

The defendant is adjudicated guilty of these offenses:
 Title & Section               /             Nature of Offense                                                 Offense Ended               Count
 18 U.S.C. § 1343                              WIRE FRAUD                                                          01/31/2018                    3
 18 U.S.C. § 1343                              WIRE FRAUD                                                          02/14/2018                    4
 18 U.S.C. § 1343                              WIRE FRAUD                                                          04/26/2018                    6
 18 U.S.C. § 1343                              WIRE FRAUD                                                          06/08/2018                    7
 18 U.S.C. § 1343                              WIRE FRAUD                                                          06/19/2018                    9

        The defendant is sentenced as provided in pages 2 through            9 of this judgment. The sentence is imposed pursuant to the
Sentencing Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) All remaining counts                                             ☐ is ☒ are dismissed on the motion of the United States
      It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence, or
mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                5/16/2024
                                                                Date of Imposition of Judgment




                                                                Signature of Judge


                                                                The Honorable Mary K. Dimke                  District Judge, U.S. District Court
                                                                Name and Title of Judge
                                                                5/22/2024
                                                                Date
       Case 4:21-cr-06042-MKD                ECF No. 1139   filed 05/22/24   PageID.5835 Page 2 of 9
AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                 Judgment -- Page 2 of 9
                     Sheet 1A

DEFENDANT:          HUSSEIN A YASIR
Case Number:        4:21-CR-06042-MKD-2


                                  ADDITIONAL COUNTS OF CONVICTION

Title & Section            /          Nature of Offense                           Offense Ended               Count
18 U.S.C. § 1341                        MAIL FRAUD                                 02/26/2018                  17
18 U.S.C. § 1341                        MAIL FRAUD                                 07/06/2018                  20
18 U.S.C. § 1341                        MAIL FRAUD                                 02/05/2019                  38
18 U.S.C. § 1341                        MAIL FRAUD                                 09/10/2020                   51
18 U.S.C. § 1341                        MAIL FRAUD                                 09/17/2020                   53
18 U.S.C. §§ 1341, 1343, 1349      CONSPIRACY TO COMMIT MAIL FRAUD AND             09/25/2020                  126
                                   WIRE FRAUD
18 U.S.C. §§ 1347, 1349            CONSPIRACY TO COMMIT HEALTH CARE                 09/25/2020                  127
                                   FRAUD
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 AO 245B (Rev. 09/19) Judgment in a Criminal Case                                                                       Judgment -- Page 3 of 9
                      Sheet 2 - Imprisonment

 DEFENDANT:            HUSSEIN A YASIR
 Case Number:          4:21-CR-06042-MKD-2


                                                            IMPRISONMENT

           The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total
term of:       36 months as to Counts 3, 4, 6, 7, 9, 17, 20, 38, 51, 53, 126, and 127, to be served concurrently.
           Defendant shall receive credit for time served in federal custody prior to sentencing in this matter.




 ☒ The court makes the following recommendations to the Bureau of Prisons:
           Placement at FCI Sheridan.




 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

            ☐ at                                        ☐    a.m.        ☐     p.m. on

            ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

            ☐ before 2 p.m. on
            ☐ as notified by the United States Marshal.
            ☐ as notified by the Probation or Pretrial Services Office.



                                                                 RETURN
I have executed this judgment as follows:


           Defendant delivered on                                                    to


at                                                  , with a certified copy of this judgment.




                                                                             ______________________________________________________
                                                                                                UNITED STATES MARSHAL

                                                                         By ______________________________________________________
                                                                                           DEPUTY UNITED STATES MARSHAL
           Case 4:21-cr-06042-MKD                       ECF No. 1139   filed 05/22/24       PageID.5837 Page 4 of 9
 AO 245B    (Rev. 09/19) Judgment in a Criminal Case                                                                 Judgment -- Page 4 of 9
                         Sheet 3 – Supervised Release

 DEFENDANT:             HUSSEIN A YASIR
 Case Number:           4:21-CR-06042-MKD-2

                                                         SUPERVISED RELEASE
Upon release from imprisonment, you shall be on supervised release for a term of: 3 years




                                                        MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance, including marijuana, which remains illegal under federal law.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of
      release from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
            ☐ The above drug testing condition is suspended, based on the court's determination that you
                 pose a low risk of future substance abuse. (check if applicable)
 4.   ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 5.   ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
            seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
            you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 6.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

 You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the
 attached page.
           Case 4:21-cr-06042-MKD                    ECF No. 1139      filed 05/22/24        PageID.5838 Page 5 of 9
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                         Sheet 3A – Supervised Release

 DEFENDANT:             HUSSEIN A YASIR
 Case Number:           4:21-CR-06042-MKD-2

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

 1.    You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
       your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
       different time frame.
 2.    After initially reporting to the probation office, you will receive instructions from the court or the probation officer about
       how and when you must report to the probation officer, and you must report to the probation officer as instructed.
 3.    You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
       from the court or the probation officer.
 4.    You must be truthful when responding to the questions asked by your probation officer.
 5.    You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
       arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If
       notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation
       officer within 72 hours of becoming aware of a change or expected change.
 6.    You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
       officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
 7.    You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you
       from doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation
       officer excuses you from doing so. If you plan to change where you work or anything about your work (such as your position
       or your job responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation
       officer at least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer
       within 72 hours of becoming aware of a change or expected change.
 8.    You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
       been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
       permission of the probation officer.
 9.    If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
 10.   You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
       that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
       nunchakus or tasers).
 11.   You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
       without first getting the permission of the court.
 12.   If this judgment imposes restitution, a fine, or special assessment, it is a condition of supervised release that you pay in
       accordance with the Schedule of Payments sheet of this judgment. You shall notify the probation officer of any material change
       in your economic circumstances that might affect your ability to pay any unpaid amount of restitution, fine, or special
       assessments.
 13.   You must follow the instructions of the probation officer related to the conditions of supervision.



U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at: www.uscourts.gov.


 Defendant's Signature                                                                            Date
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                         Sheet 3D – Supervised Release

 DEFENDANT:             HUSSEIN A YASIR
 Case Number:           4:21-CR-06042-MKD-2

                                        SPECIAL CONDITIONS OF SUPERVISION
1. You must provide the supervising officer with access to any requested financial information and authorize the release of any
financial information. The probation office may share financial information with the U.S. Attorney’s Office. You must disclose all
assets and liabilities to the supervising officer. You must not transfer, sell, give away, or otherwise convey any asset, without the
advance approval of the supervising officer.

2. You must surrender or make available for review, any documents and/or business records, requested by the supervising officer.

3. You must submit your person, residence, office, or vehicle and belongings to a search, conducted by a probation officer, at a
sensible time and manner, based upon reasonable suspicion of contraband or evidence of violation of a condition of supervision.
Failure to submit to search may be grounds for revocation. You must warn persons with whom you share a residence that the premises
may be subject to search.

4. You must undergo a substance abuse evaluation and, if indicated by a licensed/certified treatment provider, enter into and
successfully complete an approved substance abuse treatment program, which could include inpatient treatment and aftercare upon
further order of the court. You must contribute to the cost of treatment according to your ability to pay. You must allow full reciprocal
disclosure between the supervising officer and treatment provider.

5. You must abstain from the use of illegal controlled substances, and must submit to urinalysis and sweat patch testing, as directed by
the supervising officer, but no more than 6 tests per month, in order to confirm continued abstinence from these substances.

6. You must not enter into or remain in any establishment where alcohol is the primary item of sale. You must abstain from alcohol
and must submit to urinalysis and Breathalyzer testing as directed by the supervising officer, but no more than 6 tests per month, in
order to confirm continued abstinence from this substance.
           Case 4:21-cr-06042-MKD                     ECF No. 1139         filed 05/22/24         PageID.5840 Page 7 of 9
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                         Sheet 5 – Criminal Monetary Penalties

 DEFENDANT:             HUSSEIN A YASIR
 Case Number:           4:21-CR-06042-MKD-2

                                             CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                 Assessment                  Restitution            Fine                      AVAA Assessment*           JVTA Assessment**
 TOTALS          $1,200.00                   $606,114.25            $.00                      $.00                       $.00

 ☐ The special assessment imposed pursuant to 18 U.S.C. § 3013 is hereby remitted pursuant to 18 U.S.C. § 3573(1) because
   reasonable efforts to collect this assessment are not likely to be effective and in the interests of justice.
 ☐ The determination of restitution is deferred until        . An Amended Judgment in a Criminal Case (AO245C) will be
   entered after such determination.
 ☒The defendant must make restitution (including community restitution) to the following payees in the amount listed below.
         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
         the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
         before the United States is paid.


Name of Payee                                                         Total Loss***           Restitution Ordered Priority or Percentage

Allstate Insurance Company                                             $18,758.64                     $18,758.64              in full

Country Financial Insurance Company                                    $286,833.00                    $286,833.00             in full

Foremost Insurance Company Grand Rapids, MI                            $14,176.65                     $14,176.65              in full

Liberty Mutual Insurance                                               $39,094.85                     $39,094.85              in full

MAPRE Insurance                                                        $130,181.32                    $130,181.32             in full

Progressive Insurance Subrogation                                      $4,683.72                      $4,683.72               in full

State Farm Mutual Automobile Insurance Compan                          $50,873.45                     $50,873.45              in full

State Farm Mutual Automobile Insurance Company                         $61,512.62                     $61,512.62              in full

TOTALS                                                                 $606,114.25                    $606,114.25




 ☐ Restitution amount ordered pursuant to plea agreement               $

 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full
       before the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6
       may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☒ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
   ☒ the interest requirement is waived for the       ☐ fine                               ☒ restitution
   ☐ the interest requirement for the                 ☐ fine                               ☐ restitution is modified as follows:


* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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 AO 245B    (Rev. 09/19) Judgment in a Criminal Case                                                                              Judgment -- Page 8 of 9
                         Sheet 6B – Schedule of Payments

 DEFENDANT:             HUSSEIN A YASIR
 Case Number:           4:21-CR-06042-MKD-2

                                                    SCHEDULE OF PAYMENTS
Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:

 A ☐         Lump sum payments of $                                      due immediately, balance due
   ☐         not later than                                                        , or
   ☐         in accordance with        ☐ C, ☐ D, ☐ E, or        ☐ F below; or
 B ☒         Payment to begin immediately (may be combined with ☐ C, ☐ D, or                              ☒ F below); or
 C ☐         Payment in equal                       (e.g., weekly, monthly, quarterly) installments of $                        over a period of
                              (e.g., months or years), to commence               (e.g., 30 or 60 days) after the date of this judgment; or
 D     ☐     Payment in equal    (e.g., weekly, monthly, quarterly) installments of $                 over a period of
                                (e.g., months or years), to commence            (e.g., 30 or 60 days) after release from imprisonment to a
             term of supervision; or
 E     ☐     Payment during the term of supervised release will commence within                    (e.g., 30 or 60 days) after release from
             imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or
 F     ☒     Special instructions regarding the payment of criminal monetary penalties:

     Defendant shall participate in the BOP Inmate Financial Responsibility Program. During the time of incarceration, monetary
     penalties are payable on a quarterly basis of not less than $25.00 per quarter.

     While on supervised release, monetary penalties are payable on a monthly basis of not less than $25.00 per month or 10% of the
     defendant's net household income, whichever is larger, commencing 30 days after the defendant is released from imprisonment.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons'
Inmate Financial Responsibility Program, are made online at www.waed.uscourts.gov/payments or mailed to the following address
until monetary penalties are paid in full: Clerk, U.S. District Court, Attention: Finance, P.O. Box 1493, Spokane, WA 99210-1493.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☒ Joint and Several1
        Defendant and Co-Defendant Names                                Total Amount          Joint and Several           Corresponding Payee
        and Case Numbers (including defendant number)                                             Amount

        Ameer R Mohammed 4:21-CR-06042-MKD-
        13                                                               $18,758.64             $18,758.64        Allstate Insurance Company

        Hussein A Yasir 4:21-CR-06042-MKD-2                              $18,758.64             $18,758.64        Allstate Insurance Company

        Khalil Abdul-Razaq 4:21-CR-06042-MKD-20                          $18,758.64             $18,758.64        Allstate Insurance Company
        Seifeddine A Al-Kinani 4:21-CR-06042-MKD-
        16                                                               $18,758.64             $18,758.64        Allstate Insurance Company
                                                                                                                  Country Financial Insurance
        Ahmad K Bachay 4:21-CR-06042-MKD-5                               $286,833.00            $286,833.00       Company
                                                                                                                  Country Financial Insurance
        Amar F Abdul-Salam 4:21-CR-06042-MKD-12                          $286,833.00            $286,833.00       Company
                                                                                                                  Country Financial Insurance
        Farooq S Yaseen 4:21-CR-06042-MKD-19                             $286,833.00            $286,833.00       Company

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
          Case 4:21-cr-06042-MKD                   ECF No. 1139    filed 05/22/24       PageID.5842 Page 9 of 9
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                        Sheet 6B – Schedule of Payments
                                                                                                  Country Financial Insurance
     Firas S Hadi 4:21-CR-06042-MKD-18                       $286,833.00         $286,833.00      Company
                                                                                                  Country Financial Insurance
     Hussain K Bachay 4:21-CR-06042-MKD-8                    $286,833.00         $286,833.00      Company
                                                                                                  Country Financial Insurance
     Hussein A Yasir 4:21-CR-06042-MKD-2                     $286,833.00         $286,833.00      Company
     Ameer R Mohammed 4:21-CR-06042-MKD-                                                          Foremost Insurance Company
     13                                                      $14,176.65          $14,176.65       Grand Rapids, MI
                                                                                                  Foremost Insurance Company
     Hussein A Yasir 4:21-CR-06042-MKD-2                     $14,176.65          $14,176.65       Grand Rapids, MI
                                                                                                  Foremost Insurance Company
     Khalil Abdul-Razaq 4:21-CR-06042-MKD-20                 $14,176.65           $14,176.65      Grand Rapids, MI
     Seifeddine A Al-Kinani 4:21-CR-06042-                                                        Foremost Insurance Company
     MKD-16                                                  $14,176.65          $14,176.65       Grand Rapids, MI
     Abdullah Al-Dulaimi 4:21-CR-06042-MKD-
     17                                                      $39,094.85           $39,094.85      Liberty Mutual Insurance

     Farooq S Yaseen 4:21-CR-06042-MKD-19                    $39,094.85           $39,094.85      Liberty Mutual Insurance

     Hussein A Yasir 4:21-CR-06042-MKD-2                     $39,094.85           $39,094.85      Liberty Mutual Insurance

     Ahmad K Bachay 4:21-CR-06042-MKD-5                      $130,181.32         $130,181.32      MAPRE Insurance
     Amar F Abdul-Salam 4:21-CR-06042-MKD-
     12                                                      $130,181.32         $130,181.32      MAPRE Insurance

     Farooq S Yaseen 4:21-CR-06042-MKD-19                    $130,181.32         $130,181.32      MAPRE Insurance

     Firas S Hadi 4:21-CR-06042-MKD-18                       $130,181.32         $130,181.32      MAPRE Insurance

     Hussain K Bachay 4:21-CR-06042-MKD-8                    $130,181.32         $130,181.32      MAPRE Insurance

     Hussein A Yasir 4:21-CR-06042-MKD-2                     $130,181.32         $130,181.32      MAPRE Insurance

     Farooq S Yaseen 4:21-CR-06042-MKD-19                    $4,683.72            $4,683.72       Progressive Insurance Subrogation

     Hussein A Yasir 4:21-CR-06042-MKD-2                     $4,683.72            $4,683.72       Progressive Insurance Subrogation
                                                                                                 State Farm Mutual Automobile
     Hussein A Yasir 4:21-CR-06042-MKD-2                     $50,873.45          $50,873.45      Insurance Company
     Maria Elena Sanchez 4:21-CR-06042-MKD-                                                      State Farm Mutual Automobile
     15                                                      $50,873.45          $50,873.45      Insurance Company
     Abdullah Al-Dulaimi 4:21-CR-06042-MKD-                                                      State Farm Mutual Automobile
     17                                                      $61,512.62          $61,512.62      Insurance Company
                                                                                                 State Farm Mutual Automobile
     Farooq S Yaseen 4:21-CR-06042-MKD-19                    $61,512.62          $61,512.62      Insurance Company
                                                                                                 State Farm Mutual Automobile
     Hussein A Yasir 4:21-CR-06042-MKD-2                     $61,512.62          $61,512.62      Insurance Company
☐ The defendant shall pay the cost of prosecution.
☐ The defendant shall pay the following court cost(s):
☒ The defendant shall forfeit the defendant's interest in the following property to the United States:
     Currency in the amount of $83,335.42, in the form of a money judgment in favor of the United States.
